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     Attorney for ROBIN LEE
 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11          UNITED STATES OF AMERICA,                )   Case No.: 1:15CR00209 LJO-SKO
                                                     )
12                                                   )   STIPULATION AND ORDER TO
                                    Plaintiff,       )   VACATE CURRENT TRIAL DATE AND
13                                                   )   SETTING NEW TRIAL DATE (note new
                            v.                       )   date)
14                                                   )
            ROBIN LEE,                               )
15                                                   )
                                                     )
16                                  Defendant.       )
                                                     )
17
            TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
18
     LAWRENCE J. O’NEILL AND BRIAN K. DELANEY, ASSISTANT UNITED STATES
19

20   ATTORNEY:

21          COMES NOW Defendant, ROBIN LEE by and through her attorney of record,
22   Virna L. Santos, hereby requesting that Court vacate the trial date currently set for April 11,
23
     2017 and set a new trial date of August 29, 2017.
24
            This continuance is necessary to permit additional investigation of a matter required for
25

26   Ms. Lee’s defense and/or resolution via plea bargain. This issue was identified recently and

27   the court approved expert funds for its investigation on February 14, 2017. While the parties
28


     STIPULATION AND PROPOSED ORDER TO VACATE CURRENT TRIAL DATE                                       1
     AND SETTING NEW TRIAL DATE
           Case 1:15-cr-00209-LJO-SKO Document 146 Filed 02/28/17 Page 2 of 3


 1   anticipate a negotiated resolution of the case against Ms. Lee, it is necessary to exhaust this
 2
     avenue of investigation before the undersigned may fully advise her of all available defenses.
 3
            AUSA Brian K. Delaney has no objection to the request and agrees to the new
 4

 5
     proposed trial date.

 6          The parties also agree that the delays resulting from the continuance shall be excluded
 7   in the interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
 8
            IS SO STIPULATED.
 9
                                                           Respectfully Submitted,
10

11
     DATED: February 27, 2017                              /s/_________________________
12                                                         VIRNA L. SANTOS
                                                           Attorney for Defendant Robin Lee
13

14
     DATED: February 27, 2017                              /s/________________________
15                                                         BRIAN K. DELANEY
                                                           Assistant U.S. Attorney
16

17

18                                                   ORDER
19
            The trial date currently set for April 11, 2017 is hereby VACATED. A new trial date of
20
     September 26, 2017 at 8:30 a.m. is hereby set. (the August date is not available on calendar).
21

22   Time is excluded for defense investigation, consideration of a plea agreement and in the

23   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
24
            IT IS SO ORDERED.
25
                            Dated:     February 28, 2017                    /s/ Lawrence J.
26
     O’Neill _____
27                                                 UNITED STATES CHIEF DISTRICT JUDGE

28


     STIPULATION AND PROPOSED ORDER TO VACATE CURRENT TRIAL DATE                                       2
     AND SETTING NEW TRIAL DATE
          Case 1:15-cr-00209-LJO-SKO Document 146 Filed 02/28/17 Page 3 of 3


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     STIPULATION AND PROPOSED ORDER TO VACATE CURRENT TRIAL DATE               3
     AND SETTING NEW TRIAL DATE
